         Case 1:21-cr-00283-APM Document 1-1 Filed 03/10/21 Page 1 of 6




                                   STATEMENT OF FACTS

        Your affiant, Mark P. Engholm, is a Task Force Officer assigned to the Joint Terrorism
Task Force (JTTF) of the Federal Bureau of Investigation (FBI) Kansas City Division, Topeka
Resident Agency. I have been a law enforcement officer for twenty-nine years, and I have been a
part of the Joint Terrorism Task Force (JTTF) with the task of investigating international and
domestic terrorism cases for seven years. As a Task Force Officer with the FBI, I have participated
in and conducted a wide variety of investigations involving violations of Federal and State law and
authored or assisted in the preparation of numerous orders and warrants in support of these
investigations. Currently, I am a tasked with investigating criminal activity in and around the
Capitol grounds on January 6, 2021. As a federal agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detention, investigation, or prosecution of a
violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House
and Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 PM, individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 PM, members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 PM. Vice
         Case 1:21-cr-00283-APM Document 1-1 Filed 03/10/21 Page 2 of 6




President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage, which
appeared to be captured on mobile devices of persons present on the scene, depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        In the aftermath of January 6, 2021, the FBI received a tip from a member of the public
reporting that MARK ROGER REBEGILA (REBEGILA), had been present inside the U.S.
Capitol Building during the riot.

        On January 15, 2021, the FBI interviewed a witness (W1), who stated that they personally
know REBEGILA. W1 further stated that on January 6, 2021, they viewed a video that
REBEGILA sent to several people. W1 viewed the video on one of those people’s phones. The
video W1 viewed showed REBEGILA filming himself inside the U.S. Capitol. W1 stated that
others claimed that REBEGILA sat in a lawmaker’s chair and stole a bottle of liquor from an office
in the U.S. Capitol. The reports of REBEGILA sitting in a lawmaker’s chair and stealing a bottle
of liquor are under investigation.

        On January 15, 2021, REBEGILA provided a voluntary, non-custodial interview to the FBI
at his residence—606 West Willow Street in Saint Marys, Kansas. REBEGILA admitted that he
entered the U.S. Capitol building during the riot on January 6, 2021. REBEGILA stated in sum
and substance that he arrived at the U.S. Capitol after other pushed down the barriers and crowds
were entering the building. REBEGILA further stated that he asked a police officer if he could go
inside and the officer shrugged his shoulders. REBEGILA further stated that he used his phone to
produce and transmit a video chat as he walked through the U.S. Capitol. REBEGILA further
stated that he later deleted the video, and that he deleted the video because he did not want to get
into trouble. REBEGILA denied stealing property, assaulting law enforcement officers, or
damaging property.

       On February 22, 2021, and continuing into February 23, 2021, FBI Special Agent Jason
Sahin initiated contact with REBEGILA by phone, and later continued communicating via text
message with REBEGILA regarding the video he took of himself inside the U.S. Capitol and any
other photos or videos he wished to provide to the FBI. REBEGILA texted a video purportedly
taken by him outside the U.S. Capitol on January 6, 2021, of other protestors and rioters as police
were dispersing the crowd. REBEGILA also provided a photo of himself in front of the
Washington Monument from earlier in the day. He stated he was still not able to locate the video
he took inside the U.S. Capitol and shared with others.
        Case 1:21-cr-00283-APM Document 1-1 Filed 03/10/21 Page 3 of 6




        The photo REBEGILA sent of himself is shown below. REBEGILA is on the right wearing
a dark blue jacket and “Trump 2020” stocking cap.
        Case 1:21-cr-00283-APM Document 1-1 Filed 03/10/21 Page 4 of 6




        A review of US Capitol CCTV images and video from January 6, 2021, connected with
the riot revealed images and video matching REBEGILA inside, looking at a cellphone in his
hands:
         Case 1:21-cr-00283-APM Document 1-1 Filed 03/10/21 Page 5 of 6




        On February 26, 2021, FBI agents showed W1 the Washington Monument photo (above)
and the U.S. Capitol CCTV photo (below). W1 identified the individual in the photos with the dark
blue jacket and “Trump 2020” stocking cap as REBEGILA. (Red circle was later added for
purposes of clarity in this Statement of Facts.)




        FBI Special Agent Jason Sahin spoke with REBEGILA in person on January 15, 2021, and
he viewed CCTV video from January 6, 2021. SA Sahin believes that the individual seen on CCTV
video inside the U.S. Capitol’s Senate West stair doors is REBEGILA. In the video, REBEGILA
can be seen entering the building through a door that rioters had forced open earlier. CCTV shows
REBEGILA entering several offices—including room numbers S-131 and S-132, based on floor
plans provided by USCP—that were forced open by rioters. CCTV video further shows
REBEGILA exiting the building. There are several times that the CCTV video shows REBEGILA
using his phone to capture photo/video.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Mark Roger REBEGILA violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do so;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.
         Case 1:21-cr-00283-APM Document 1-1 Filed 03/10/21 Page 6 of 6




        Your affiant submits there is also probable cause to believe that Mark Roger REBEGILA
violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                     MARK P. ENGHOLM
                                                     TASK FORCE OFFICER
                                                     FEDERAL BUREAU OF INVESTIGATION

        Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P.
4.1 by telephone, this 10th day of March 2021.
                                                                             Digitally signed by G. Michael
                                                                             Harvey
                                                                             Date: 2021.03.10 11:05:33
                                                                             -05'00'

                                                     G. MICHAEL HARVEY
                                                     U.S. MAGISTRATE JUDGE
